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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                                                  1:21-cr-80
                                                        CASE NO. _________________
                Plaintiff,
                                                        JUDGE       MCFARLAND
        v.
                                                        INFORMATION
 TONI WRIGHT,
                                                        18 U. S. C. § 1014
                Defendant.


THE UNITED STATES ATTORNEY CHARGES:

                                          COUNT 1
                      (False Statement on a Loan and Credit Application)

       On or about June 22, 2020, in the Southern District of Ohio and elsewhere, the defendant,

TONI WRIGHT, knowingly made, and caused to be made, a false statement or report to Telhio

Credit Union, a financial institution insured by the National Credit Union Association, for the

purpose of influencing the action of Telhio Credit Union, in connection with a loan guaranteed by

the Small Business Administration, that is, the defendant submitted an application for a Payment

Protection Program loan that contained false information, in that the defendant claimed that the

average monthly payroll for Beautiful Beginnings Doula Service was $100,000.00 and that the

business had 25 employees, when in truth and in fact, as the defendant well knew, the business did

not have the number of employees or generate the amount of payroll claimed.

       In violation of 18 U.S.C. § 1014.


                                             VIPAL J. PATEL
                                             ACTING UNITED STATES ATTORNEY



                                             EBUNOLUWA A. TAIWO
                                             Assistant United States Attorney
